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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

DEBORAH LAUFER,

Plaintiff,

v.                                                     Case No. 20-cv-757 JPG

MANSI AND SANKET, INC.,

Defendant.


                                            JUDGMENT

           The Court having been advised by counsel for the parties that the above action has been

settled;

           IT IS HEREBY ORDERED AND ADJUDGED that this case is dismissed with prejudice

and without costs.


Dated: November 6, 2020                 MARGARET M. ROBERTIE, Clerk of Court

                                        s/Tina Gray, Deputy Clerk



Approved:         s/J. Phil Gilbert
                  J. PHIL GILBERT
                  DISTRICT JUDGE
